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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION
 DOMINIQUE ALEXANDER,
                                          §
 CARVELL BOWENS, CYRUS                         CIVIL CAUSE NO.
                                          §
 CEZAR, DAMON CRENSHAW,                        3:22-cv-1193
                                          §
 DAJAI FIELDS, CYNTHIA FLORES,            §
 TRACY FOSTER, JASMIN                     §
 GALVAN, DEBBIE KIM, ALEXIS               §
 MCKINNEY, LAPREA PIERCE,                 §
 AMY SMITH, LAKEISHA SMITH,               §
 NATHAN TINDALL, ELISEO                   §
 VALDEZ, COURTNEY WADLOW,                 §
 CNAYA WARREN, JANE AND                   §
 JOHN DOE BRIDGE PLAINTIFFS 1-            §
 10                                       §
                                          §
       Plaintiffs,                        §
 vs.                                      §
                                          §
 CITY OF DALLAS, TEXAS; EDGARDO           §
 GARCIA; ULYSHA RENEE HALL;               §
 JOHN AND JANE ROE DALLAS                 §
 POLICE OFFICERS 1-10; DALLAS             §
 COUNTY, TEXAS; MARIAN BROWN;             §
 JOHN AND JANE SMITH SHERIFF’S            §
 DEPUTIES 1-10; STATE OF TEXAS;           §
 TEXAS DEPARTMENT OF PUBLIC               §
 SAFETY; STEVEN C. MCCRAW; JOHN           §
 AND JANE WHITE, STATE TROOPERS           §
 1-10, FEDERAL BUREAU OF                  §
 INVESTIGATION, DEPARTMENT OF             §
 HOMELAND SECURITY, BUREAU OF             §
 ALCOHOL, TOBACCO, FIREARMS,              §
 AND EXPLOSIVES, UNITED STATES            §
 NATIONAL GUARD; JOHN AND JANE            §
 BLACK FEDERAL AGENTS 1-10                §
                                          §
       Defendants.                        §    JURY TRIAL DEMANDED


                     PLAINTIFFS’ ORIGINAL COMPLAINT


       COME NOW, Dominique Alexander, Carvell Bowens, Cyrus Cezar, Damon Crenshaw,



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Dajai Fields, Cynthia Flores, Tracy Foster, Jasmin Galvan, Debbie Kim, Alexis Mckinney,

Laprea Pierce, Amy Smith, Lakeisha Smith, Nathan Tindall, Eliseo Valdez, Courtney Wadlow,

Cnaya Warren, and Jane and John Doe Bridge Plaintiffs 1-10 (collectively, “Plaintiffs”) and bring

this civil action against: The City of Dallas, Texas; City of Dallas Police Chief Edgardo “Eddie”

Garcia (“Chief Garcia”) in his individual and official capacities; City of Dallas Former Police

Chief Ulysha Reneé Hall (“Chief Hall”) in her individual and official capacities; and City of

Dallas John and Jane Roe Police Officers 1–10 in their individual and official capacities (the

“DPD Officer Defendants,” and together with the City of Dallas, Chief Garcia, and Chief Hall,

the “City of Dallas Defendants”); Dallas County, Texas; Dallas County Sheriff Marian Brown

(“Sheriff Brown”), in her individual and official capacities; Dallas County John and Jane Smith

Sheriff’s Deputies 1-10 in their individual and official capacities (the “Sheriff Deputy

Defendants,” and together with Dallas County, Sheriff Brown, the “Dallas County Defendants”);

and The State of Texas; the Texas Department of Public Safety (“DPS”); DPS Director Steven

C. McCraw in his individual and official capacities; and John and Jane White State Troopers 1-

10 in their individual and official capacities (the “State Trooper Defendants,” and together with

the State of Texas, DPS, and DPS Director Steven C. McCraw, the “State of Texas Defendants”),

the Federal Bureau of Investigation, Department Of Homeland Security, Bureau of Alcohol,

Tobacco, Firearms, and Explosives, United States National Guard; John and Jane Black Federal

Agents 1-10 in their individual and official capacities (“Federal Defendants”) and for cause

would show the Court the following:

                                   I.     INTRODUCTION

       1.      In the wake of the brutal and unjustified May 25, 2020 killing of George Floyd

by police officers in Minneapolis, Minnesota, hundreds of thousands of Americans took to



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public streets and forums to protest police brutality and racial inequality. Dallas was no

exception, with peaceful protests occurring across the city, beginning on May 29, 2020, and

continuing throughout the remainder of 2020 (the “2020 Protests”). Undeterred by the fact that

police officers’ use of excessive force was the very subject of the demonstrations and protests,

City of Dallas Police Department (“DPD”) officers repeatedly used extreme and

unconstitutional methods, and lethal force against these crowds, targeting peaceful, non-

threatening protesters and bystanders with tear gas, smoke bombs, flash-bangs, pepper balls,

mace, and what are known as “kinetic impact projectiles,” or “KIPs.” Upon information and

belief, deputies from the Dallas County Sheriff’s Department (“Sheriff’s Department”) and

troopers from the Texas Department of Public Safety (“DPS”) also engaged in similar conduct

against protesters and bystanders in coordination with and/or at the direction of the City of

Dallas Defendants. Officers also unlawfully detained, seized, tear-gassed and smoke-bombed

protesters simply because they exercised their First Amendment rights.

       2.      Dominique Alexander, Carvell Bowens, Cyrus Cezar, Damon Crenshaw, Dajai

Fields, Cynthia Flores, Tracy Foster, Jasmin Galvan, Debbie Kim, Alexis Mckinney, Laprea

Pierce, Amy Smith, Lakeisha Smith, Nathan Tindall, Eliseo Valdez, Courtney Wadlow, Cnaya

Warren, and Jane and John Doe Bridge Plaintiffs 1-10 (collectively “Plaintiffs) peaceably

attempted to exercise their First Amendment rights by participating in the 2020 Protests in

Dallas, Texas on June 1, 2020. However, on that day, Plaintiffs became victims of the very

same unjustified police brutality which the ongoing 2020 Protests opposed. Specifically,

Plaintiffs were unlawfully detained on Margaret Hunt Bridge in violation of their constitutional

rights and were harmed when DPD Officer Defendants, Sheriff Deputy Defendants, and/or State

Trooper Defendants, and/or Federal Agent Defendants fired tear gas canisters at them, shot



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them with rubber bullet KIP’s, and seized and restrained them for hours (“Bridge Incident”).

       3.      This is a civil action for relief for violations of Plaintiffs’ civil rights and harm

they sustained as a result of the acts and omissions by Defendants. Defendants, both individually

and collectively, were responsible for the excessive use of force against Plaintiffs and their

resulting physical injuries, and for violating Plaintiffs’ constitutional rights under the First,

Fourth, and Fourteenth Amendments to the U.S. Constitution. These injuries are the direct result

of official policies of the respective city and county law enforcement agencies, the State of

Texas, U.S. Federal Agencies, and failures by the same and their current and former leadership

to implement and enforce policies and standards that ensure their officers, deputies, and troopers

know and are trained in the constitutional limits of force against civilians, particularly those

exercising their First Amendment rights.

                                         II.     PARTIES

       4.      Plaintiff Dominique Alexander is an individual resident of the Northern District

of Texas and can be served through the undersigned counsel of record.

       5.      Plaintiff Carven Bowens is an individual resident in the Northern District of

Texas and can be served through the undersigned counsel of record.

       6.      Plaintiff Cyrus Cezar is an individual resident in the Northern District of Texas

and can be served through the undersigned counsel of record.

       7.      Plaintiff Damon Crenshaw is an individual resident in the Northern District of

Texas and can be served through the undersigned counsel of record.

       8.      Plaintiff Cynthia Flores is an individual resident in the Northern District of

Texas and can be served through the undersigned counsel of record.

       9.      Plaintiff Tracy Foster is an individual resident in the Northern District of Texas



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and can be served through the undersigned counsel of record.

       10.    Jasmin Galvan is an individual resident in the Northern District of Texas and can

be served through the undersigned counsel of record.

       11.    Debbie Kim is an individual resident in the Northern District of Texas and can

be served through the undersigned counsel of record.

       12.    Alexis Mckinney is an individual resident in the Northern District of Texas and

can be served through the undersigned counsel of record.

       13.    Laprea Pierce is an individual resident in the Northern District of Texas and can

be served through the undersigned counsel of record.

       14.    Amy Smith is an individual resident in the Northern District of Texas and can

be served through the undersigned counsel of record.

       15.    Lakeisha Smith is an individual resident in the Northern District of Texas and

can be served through the undersigned counsel of record.

       16.    Nathan Tindall is an individual resident in the Northern District of Texas and

can be served through the undersigned counsel of record.

       17.    Eliseo Valdez is an individual resident in the Northern District of Texas and can

be served through the undersigned counsel of record.

       18.    Courtney Wadlow is an individual resident in the Northern District of Texas and

can be served through the undersigned counsel of record.

       19.    Cnaya Warren is an individual resident in the Northern District of Texas and can

be served through the undersigned counsel of record.

       20.    Jane and John Doe Bridge Plaintiffs 1-10 are individual residents in the Northern

District of Texas who were participated in the “Bridge Incident” and can be served through the



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undersigned counsel of record.

       21.     Defendant the City of Dallas, Texas is a political subdivision of the State of

Texas and funds, operates, and controls DPD. The City of Dallas, along with the Dallas City

Council, Chief Garcia, and Former Chief Hall, are (or were) responsible for implementing

DPD’s budget, policies, procedures, practices, and customs, and for the acts and omissions

challenged by this suit. DPD under the direction of the Dallas City Council, Chief Garcia, and

Former Chief Hall, is also responsible for preventive, investigative, and enforcement services

for all citizens of the City of Dallas. Defendant the City of Dallas may be served with process

by serving the Dallas City Attorney, Christopher J. Caso, at 1500 Marilla Street, Room 7DN,

Dallas, Texas; Phone (214) 670-3519 or Fax: (214) 670-3519.

       22.     Defendant Chief Edgardo “Eddie” Garcia is the Chief of Police of DPD and a

final policymaker for DPD, with the authority for setting policies, including training of DPD

Officers. Chief Garcia may be served with process by serving the Dallas City Attorney,

Christopher J. Caso, at 1500 Marilla Street, Room 7DN, Dallas, Texas; Phone (214) 670-3519

or Fax: (214) 670-3519.

       23.     Between 2017 and 2020, Defendant Former Chief Ulysha “Renee” Hall was the

Chief of Police of DPD and a final policymaker for DPD, with the authority for setting policies,

including training of DPD Officers. See Garza v. City of Donna, 922 F.3d 626, 637 (5th Cir.

2019) (the Fifth Circuit “[has] previously found that Texas police chiefs are final policymakers

for their municipalities.”). Chief Hall was also the supervisor for the DPD Officer Defendants

at all times relevant in this complaint. Upon information and belief, Chief Hall is a resident of

Maryland and may be served with process wherever she may be found.

       24.     Defendants John and Jane Roe Officers 1-10 are certain individuals whose



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identities are presently unknown to Plaintiffs but who, upon information and belief, were at all

relevant times DPD Officers and were acting in such capacity. Defendants John and Jane Roe

1-10 are responsible for the acts and omissions challenged by this lawsuit. Plaintiffs will amend

this complaint to substitute the true names and capacities of the Defendants John and Jane Roe

1-10 when ascertained during this litigation.

       25.     Defendant Dallas County, Texas is a political subdivision of the State of Texas,

and funds, operates, and controls the Dallas County Sheriff’s Department. Dallas County, along

with Sheriff Brown, is responsible for implementing the Sheriff’s Department’s budget,

policies, procedures, practices, and customs, and for the acts and omissions challenged by this

suit. The Sheriff’s Department, under the direction of Dallas County and Sheriff Brown, is also

responsible for preventive, investigative, and enforcement services for all citizens of Dallas

County. Dallas County may be served with process the Dallas County Sheriff’s Department at 133 N.

Riverfront Blvd., LB-31, Dallas, TX 75207.

       26.     Defendant Sheriff Brown is the Dallas County Sheriff and a final policymaker

for the Sheriff’s Department, with the authority for setting policies, including training of the

Sheriff’s Deputies. See Bennett v. Pippin, 74 F.3d 578, 586 (5th Cir. 1996) (“[i]t has long been

recognized that, in Texas, the county sheriff is the county’s final policymaker in the area of law

enforcement,[].” (quoting Turner v. Upton County, Tex., 915 F.2d 133, 136 (5th Cir. 1990),

reh’g denied, 967 F.2d 181 (5th Cir. 1992))). Sheriff Brown may be served with process by

serving County Judge Clay Jenkins, 411 Elm Street, # 200, Dallas, Texas 75202; Phone (214)

653-7949.

       27.     Defendants John and Jane Smith 1-10 are certain individuals whose identities

are presently unknown to Plaintiffs but who, upon information and belief, were at all relevant

times Sheriff’s Deputies and were acting in such capacity. Defendants John and Jane Smith 1-

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10 are responsible for the acts and omissions challenged by this lawsuit. Plaintiffs will amend

this complaint to substitute the true names and capacities of the Defendants John and Jane Smith

1-10 when ascertained during this litigation.

         28.   Defendant the State of Texas can be served at the Office of the Attorney General,

300 West 15th Street, Austin, Texas 78701; or by mail to: P.O. Box 12548, Austin, Texas

78711.

         29.   Defendant Texas Department of Public Safety (“DPS”) is a state agency

organized under the laws of the State of Texas. DPS is responsible for promulgating and

implementing policies and procedures that govern the conduct of State Troopers, and to train

and supervise State Troopers in the implementation of those policies. It may be served through

its Director, Steven C. McCraw, at 5805 North Lamar Boulevard, PO Box 4087, Austin, Texas.

         30.   Defendant Steven C. McCraw is the Director of DPS and oversees the operations

and functions of DPS, including but not limited to, DPS’s budget, policies, procedures,

practices, and customs, as well as the acts and omissions challenged by this suit. Director

McCraw is sued in his official capacity and may be served at 5805 North Lamar Boulevard,

PO Box 4087, Austin, Texas.

         31.   Defendants John and Jane White State Troopers 1-10 are certain individuals

whose identities are presently unknown to Plaintiffs but who, upon information and belief, were

at all relevant times State Troopers and were acting in such capacity. Defendants John and Jane

White State Troopers 1-10 are responsible for the acts and omissions challenged by this lawsuit.

Plaintiffs will amend this complaint to substitute the true names and capacities of the

Defendants John and Jane White State Troopers 1- 10 when ascertained during this litigation.

         32.   Defendant Federal Bureau of Investigation (“FBI”) is the principal federal law



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enforcement of the United States and may be served wherever it may be found

       33.     Department of Homeland Security (“DHS”)is a federal agency charged

improving the security of the United States and may be served wherever it may be found.

       34.     Defendant Bureau of Alcohol, Tobacco, Firearms, And Explosives (“ATF”) is

an agency of the United States and may be served wherever it may be found.

       35.     Defendant United States National Guard is an agency of the United States and

may be served wherever it may be found.

       36.     Defendants John and Jane Black Federal Agents 1-10 are certain individuals

whose identities are presently unknown to Plaintiffs but who, upon information and belief, were

at all relevant times federal employees and were acting in such capacity. Defendants John and

Jane Black Federal Agents 1-10 are responsible for the acts and omissions challenged by this

lawsuit. Plaintiffs will amend this complaint to substitute the true names and capacities of the

Defendants John and Jane Black Federal Agents 1-10 when ascertained during this litigation.

                                    III.    JURISDICTION

       37.     Plaintiffs reallege and incorporate by reference the allegations contained in the

preceding paragraphs.

       38.     Federal jurisdiction is proper in this Court pursuant to 28 U.S.C. § 1331 and

42 U.S.C. § 1983.

       39.     The Court has general personal jurisdiction over the City of Dallas Defendants

and the Dallas County Defendants by virtue of their citizenship and residence in Dallas County,

Texas, as well as their continuous and systematic contacts with the State of Texas. Defendant

the City of Dallas is a municipality incorporated in the State of Texas. Defendant Dallas County

is a county in the State of Texas. Upon information and belief, the DPD Officer Defendants and

Sheriff’s Deputy Defendants are residents of the State of Texas.


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         40.    The Court has general personal jurisdiction over the State of Texas Defendants

by virtue of their citizenship and residence in the State of Texas, as well as their continuous and

systematic contacts with the State of Texas.

         41.    Furthermore, the Court has specific personal jurisdiction over the City of Dallas

Defendants, the Dallas County Defendants, the State of Texas Defendants, and Chief Hall

because Plaintiffs’ claims against them arise out of or relate to a contact between them and the

State of Texas. The DPD Officer Defendants, Sheriff Deputy Defendants, and the State Trooper

Defendants used excessive force against Plaintiffs during protests in Dallas, Texas, acting on

orders and policies promulgated by Chief Hall and City of Dallas policymakers. Plaintiffs’

claims against the City of Dallas Defendants, the Dallas County Defendants, the State of Texas

Defendants and Chief Hall arise from that occurrence and Defendants’ contact in the state of

Texas.

                                          IV.     VENUE

         42.    Plaintiffs reallege and incorporate by reference the allegations contained in the

preceding paragraphs.

         43.    Venue in the Northern District of Texas-Dallas Division is proper pursuant to

28 U.S.C. § 1391 and 28 U.S.C. § 1367 as the incidents that give rise to this Complaint occurred

in Dallas, Texas, within the Northern District of Texas.

                              V.      CONDITIONS PRECEDENT

         44.    Plaintiffs reallege and incorporate by reference the allegations contained in the

preceding paragraphs.

         45.    All conditions precedent have occurred or have been performed. See Fed. R.

Civ. P. 9(c).



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                               VI.     STATEMENT OF FACTS

1.       The 2020 Protests in Dallas, Texas.

         27.    Plaintiffs reallege and incorporate by reference the allegations contained in the

preceding paragraphs.

         28.    On Monday, May 25, 2020, an unarmed Black man named George Floyd was

murdered by an officer of the Minneapolis Police Department. The events of Mr. Floyd’s arrest

and murder were captured on video by multiple bystanders as well as individual officers’ body

cameras. Peaceful protests and demonstrations soon followed through the United States,

including in Dallas, Texas.

         29.    Undeterred by the fact that excessive police force was the very subject of these

nationwide demonstrations, videos, photos, and reports of police brutality on massive scales at

these protests arose in the weeks immediately following Mr. Floyd’s death. Here in Dallas, DPD

Officers, Sherriff’s Deputies, and State Troopers repeatedly used extreme and lethal force

against these crowds during the 2020 Protests, targeting peaceful, non-threatening protesters

with tear gas, smoke bombs, flash-bangs, pepper balls, mace, and ammunition that are known

as “kinetic impact projectiles,” or “KIPs.”

         30.    KIPs, which include so-called “rubber bullets” or “sponge bullets,” are often

used by American police forces to control crowds. The manufacturers, distributors, and sellers

of these projectiles—and the police departments that use them against their own citizens—

praise these bullets as being “nonlethal” or “less lethal.” They are not. In fact, the fatality,

morbidity, and significant risks of injuries from KIPs have been well documented, and KIPs

kill approximately three percent of all people they strike. Regardless, in cities across the
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country, including Dallas, police departments attempted to quell participation in the 2020

Protests by firing KIPs into crowds, even though five decades of evidence shows such weapons

can disable, disfigure, and even kill.

        31.     In addition to pepper balls, KIPs, and tear gas, law enforcement agencies around

the country, including DPD, have used an increasingly violent technique referred to as

“kettling,” wherein police officers block off streets and push or “corral” a group of protesters

into a small area, like a bridge or city block, to restrict their movement. Thereafter, the police

officers move in on the protesters to detain the individuals, arrest the individuals, or allow them

to leave through an exit controlled by police.6 In several instances, officers have held the

protesters for hours without food, water or access to restrooms, and unnecessarily used tear gas,

smoke bombs, rubber bullets, or other tactics against the kettled individuals in an attempt to

“control” or “subdue” the crowd.

        32.     Also, known as “trap and detain,” this highly controversial technique routinely

results in increased tensions between police and protesters who have been trapped in a small

area. Originally developed as a military tactic, kettling was initially deployed by military forces

in combat to subdue their opponent on the battlefield. Today, however, police departments use

this same tactic against protesters, who in many cases are peacefully exercising their

constitutional rights.

        33.     Moreover, kettling results in the violation of the constitutional rights of peaceful

protesters and other innocent bystanders, who are often swept up by police in their attempt to

“control” the crowd. Rather than identify and single out the few bad actors, if any, officers

engaged in kettling indiscriminately target individuals in a general vicinity and subject them to
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the same antagonistic and even violent treatment, regardless of their individual conduct or

participation in the protest. Kettling therefore infringes on individuals’ First Amendment,

Fourth Amendment, and Fourteenth Amendment rights, as protesters and other bystanders are

wrongfully detained, arrested, and/or subjected to unreasonable searches, seizures, and

excessive force while exercising their constitutional rights.

        34.     In the immediate days after Mr. Floyd’s death, federal courts in several cities,

including Portland, Denver, and Oakland began issuing injunctive relief to prohibit law

enforcement agencies from using so-called “less lethal” crowd control tactics on peaceful

protesters, such as rubber bullets and tear gas.

        35.     The first Dallas protest in the aftermath of Mr. Floyd’s death was on May 29,

2020. On that day, and for hundreds of days after, peaceful protestors gathered in downtown Dallas to

demonstrate against police brutality and racial inequality. Although a small minority of individuals

present at the scene of the first weekend of protests engaged in destructive activity, including property

destruction, those individuals’ behavior was profoundly overshadowed by the thousands of otherwise

non-violent, non-threatening demonstrators who peaceably exercised their First Amendment rights.

        36.     Nonetheless, during the 2020 Protests, DPD and other law enforcement

departments working with them and/or at DPD’s direction (and invited by DPD and Former

Chief Hall) directed extreme riot control tactics towards entire groups of protesters posing no

harm to officers or anyone else. Dressed in riot gear and driving armored vehicles, DPD and

those working with them kettled protestors, deployed riot control devices against ordinary

citizens and journalists alike, without regard to whether the circumstances justified it, and shot

“less lethal” weaponry at peaceful citizens.

        37.     During the first seven days of demonstrations in Dallas, DPD Officers and those
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working with them, including but not limited to the Sheriff’s Deputies and State Troopers, and

Federal Agents repeatedly used extreme and lethal force against crowds, directly targeting

peaceful, non- threatening protestors with KIPs, tear gas, smoke bombs, and other riot control

devices that the City of Dallas and Chief Hall praise as “less lethal.” In particular, DPD and

those working with them and/or at their direction used pepper balls and a type of KIP called

40mm eXact iMpact extended range “sponge” bullets—often referred to as “rubber bullets”—

against protestors, bystanders, and journalists in order to suppress their First Amendment rights,

without regard to constitutional limits.

        38.      Chief Hall defended her decision and orders to shoot protesters with tear gas—

a chemical weapon banned in war—during the 2020 Protests in Dallas. Hundreds of reports of

peaceful protesters, journalists covering protests, and bystanders bleeding and suffering from

unwarranted levels of force employed by law enforcement threaten to chill participation in

ongoing demonstrations in Dallas.

        39.      When DPD Officers and those working with them could not keep protestors

moving in the direction they wanted, they called for additional officers with KIPs or tear gas in

order to kettle protestors or alter their direction of travel. DPD Officers and those working with

them regularly called for the use of tear gas to control the direction in which protestors were

traveling. DPD Officers and those working with them often reported they could not kettle

protestors exercising their First Amendment rights without the use of gas. DPD Officers and

those working with them specifically used tear gas for the specific purpose of kettling crowds

that were not apparently posing any direct or imminent threat.

        40.      DPD Officers and those working with them were instructed to rush into crowds

that were simply moving down the street in order to prevent them from continuing their protests.
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 DPD Officers specifically reported that pepper ball rounds worked “very well” to disburse

 protestors who were “agitated” but not apparently posing any threat.

        41.     Upon information and belief, during the course of the 2020 Protests and

 specifically during the May 30, and June 1, 2020 protests in which Plaintiffs participated,

 Sheriff Deputy Defendants fired tear gas into crowds of protestors exercising their First

 Amendment rights when they did not pose a direct threat to any officers or property.

        42.     Based on the DPD’s After Action Report on the George Floyd Protest, several

 other law enforcement agencies played an active role in the events taking place on May 30,

 2020 to June 1, 2020. On information and belief, Sheriff Deputy Defendants and State Trooper

 Defendants (and others) also engaged in the challenged behavior, specifically kettling and

 shooting Plaintiffs with rubber bullet KIPs without provocation or justification, which violated

 their constitutional rights and resulted in injuries to one or more of the Plaintiffs.

        43.     Plaintiffs and other non-threatening people present at the first weekend of 2020

 Protests in Dallas from May 30 to June 1, 2020, suffered and continue to suffer from injuries

 caused by Defendants.

The Bridge Incident

        44.     On Monday, June 1, 2020, all Plaintiffs gathered for a peaceful protest in front

 of Lew Sterrett Justice Center to exercise their First Amendment rights and voice their concerns

 regarding recent instances of police brutality.

        45.     After the rally at Lew Sterrett Plaintiffs began marching. While marching down

 Riverfront Drive, DPD directed protestors, including Plaintiffs, onto Margaret Hunt Hill Bridge.

 DPD had stopped traffic to allow Plaintiffs and other protesters to enter the bridge.

        46.     Plaintiffs were met at the on the east end of the bridge by a line of officers.
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Upon meeting the officers at the east end of the bridge, protestors stopped and peacefully

stood while chanting.

       47.     Without provocation, officers and/or deputies began to fire smoke canisters and

other KIPs towards Plaintiffs and other individuals on the bridge. To avoid being seriously

injured, Plaintiffs turned away from the officers and/or deputies firing towards them and tried

to leave the bridge from the direction which they had entered.

       48.     Upon trying to vacate the bridge the protestors were met with another line of

law enforcement officers that blocked their exit from the bridge.

       49.     The law enforcement officers had kettled Plaintiffs on the bridge. They began

to tell the protestors to get on the ground and advised that they were all being arrested and

began to zip tie the protestors who were laying down on their stomachs flat on the ground.

       44.     At no point did they pose an immediate threat of serious harm, or threat of any

kind, to the officers, troopers, and/or deputies who fired at them.

       45.     DPD Officers, Sheriff’s Deputies, and State Troopers would eventually detain

approximately 674 protesters on the Bridge at the end of the march from the Frank Crowley

Courts Building downtown that was, by all accounts, entirely peaceful. Video footage taken by

march participants and journalists confirms that the only violence on the Bridge came from

DPD Officers, Sheriff’s Deputies, and State Troopers who fired so-called “less lethal” rubber

bullets, along with pepper balls, smoke bombs, and tear gas, at nonthreatening, kneeling

demonstrators who had been kettled by police. Assessing the incident the next day, Chief Hall

said, “I strongly believe we made the right decisions to deter and disperse the large crowd on

the bridge.”
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              46.    But the DPD Officers Defendants, Sheriff Deputy Defendants, and State Trooper

      Defendants did not “deter” or “disperse” the crowd and instead deliberately prevented

      participants from leaving by kettling them onto the Bridge.

              47.    When the crowd’s march from downtown reached the intersection with the

      roadway leading to the Bridge, demonstrators found the westbound ramp onto the Bridge was

      not blocked by police, unlike other sides of the intersection. As the group of protesters they

      were a part of proceeded onto the Bridge, the Plaintiffs never received an instruction not to go

      on to the Bridge or warning that they would be arrested or detained for doing so. Protesters and

      journalists on the scene say they were told by law enforcement to “continue moving” but were

      never warned not to walk up the ramp to the Bridge.

      .

48.   The conduct of DPD Officers, the Sheriff’s Deputies, and State Troopers, particularly toward

      peaceful protestors, shows that Defendants are present at protests not simply to prevent

      property damage and keep the public safe but rather to retaliate against citizens for exercising

      their constitutional rights. Indeed, DPD Officers, Sheriff’s Deputies, and State Troopers and

      those working with them were and are dressed and armed to use violence against protestors,

      demonstrators, and bystanders. It is evident through their militaristic, indiscriminately violent

      conduct toward peaceful protesters, bystanders, press—and as widely captured on video—

      that Defendants were not present to serve a public safety role, but instead to dominate the

      protesters.

49.   Against this backdrop, immediate federal intervention was and continues to be necessary to

      enjoin the unconstitutional use of excessive force and kettling techniques against peaceful
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protests.

2.       The City of Dallas uses KIPs and other “less lethal” force in a deadly manner—
         even when it violates the City of Dallas’s own written polices and the U.S.
         Constitution.

         64.   KIPs—often called “rubber,” “sponge,” or “foam” bullets—describe a category

of ammunition used commonly in crowd-control settings, and include pepper balls.31 Some

KIPs are made of hardened foam or plastic, often containing a rigid or metal core. Others are

“beanbag” type rounds, and others may be composed of rubber or wood.
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     





































     












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









         


























 
 
 
 
 
 
 
 
 




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







     



























     











     


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





































 
 
 
 
 
 
 
 
 
 
 


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




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













     





























     







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









































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 


                         
                                           


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         
      







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















     























            











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    

    

    

    

    

    

    

    

    

    

    

    

    

    

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 







 
        
   
                    
 







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










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     



















     































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





         



































 
 
 
 
 




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



















     































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
















     


































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







 




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     

































     

















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

















     


































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     



















































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







          























3.       
         
         

         85.   
















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















































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
































 











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








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    86.   

































    87.   

















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















     88.   













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 
 
 













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

































    89.   
















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






 


       
          
   












     
                                
    
           






                                    
             
           














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










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    90.   











     •    
          
          
          
          
          
          
          
          
          
          

     •    
          
          
          
          
          

     •    
          
          
          
          
          
          

     •    
          
          
          
          
          
          
          
          
          


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             

         •   
             
             
             
             
             

         •   
             
             
             
             
             




         
     
    















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    91.   



















































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





        92.   























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 
















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        93.   

























                            VII.   

                      
                      
                      
                      
                      
                      
                             
        94.   





        95.   









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





    96.   













    97.   






























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    98.   

















    99.   

































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    100.   



















    101.   






















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    102.   













    103.   











    104.   













    105.   











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









    106.   











    107.   







    108.   




















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    109.   















              
              
                  
              
              
              
                   
    110.   





    111.   







    112.   









    113.   



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



    114. 
 
 

 

    115. 









     116.   











     117.   












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    118.   

















    119.   































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

















        120.   

























 
 
 
 
 


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















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







    121.   























    122.   













    123.   





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























    124.   


















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              
              
                  
              
              
              
                  
    125.   




















    126.   





















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





































    127.   














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    128.   













                 
                 
                 
                         
                   
                   
                   
                   
                        
    129.   





    130.   











    131.   









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





     132.   











    133. 
 

    134. 







     135.   


















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    136.   























    137.   









    138.   

















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





    139.   







































    140.   






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






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















    141.   











    142.   











                
                
                
                
                        
              
              
              
              
                      


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
        143.   





        144.   













        145.   































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






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















    146.   





























    147.   





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







































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 
 
 
 
 
 


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





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







        148.   









        149.   













                    
                    
                    
                            
                  
                  
                  
                  
                          

        150.   





        151.   



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









    152.   







    153.   











    154.   






















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





















    155.   





























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    156.   



































    157.   
















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






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















    158.   









    159.   













                     
                     
                     
                     
                     

    160.   





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

    161.   







    162.   










































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    163.   









































    164.   









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




















































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








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




    165.   









































    166.   



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




















































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






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

























     167.   

























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



        168.    







         •     
               
               
               
               
               
               
               
               
               
               

         •     
               

         •     
               
               
               

              
              
    
    
    
         

        169.    



raphs.




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        170.    As to each of the above causes of action, by the facts set out herein, Defendants,

in whole or part, conspired with each other to (a) deprive, either directly or indirectly, Plaintiffs

(and other protesters) of the equal protection of the laws, and of equal privileges and immunities

under the laws; or (b) hinder others from giving or securing equal protection of law to all persons

in violation of 42 USC § 1985(3).

        171.    The City of Dallas Defendants, the Dallas County Defendants, and the State of

Texas Defendants conspired (1) across separate law enforcement departments and (2) between

local police (DPD Officer Defendants), county sheriff’s deputies (Sheriff Deputy Defendants),

and state police (State Trooper Defendants) to deprive Plaintiffs of the equal protection of the

laws or to hinder others from giving or securing equal protection to all persons.

        172.    The DPD After Action Report and photographs taken by Plaintiffs show that

Sheriff Deputy Defendants and State Trooper Defendants were present at the protests Plaintiffs

attended and that they engaged in the same actions that violated Plaintiffs’ constitutional rights

as the DPD Officer Defendants.

        173.    As a direct and proximate result of Defendants’ acts in furtherance of their

conspiracy while acting under color state law, Plaintiffs were deprived of their Fourth and

Fourteenth Amendment rights and suffered injuries and damages.

                                         VIII. DAMAGES

        174.    Plaintiffs reallege and incorporate by reference the allegations contained in the

preceding paragraphs.

        175.    In whole or in part, as a result of some or all of the above actions or omissions

of Defendants, Plaintiffs have and continue to suffer irreparable harm as a result of these

violations. As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs



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have suffered and will continue to suffer severe pain of mind and body, emotional dress,

physical manifestations




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of emotional distress, and humiliation. As a direct and proximate resultof Defendants’ acts and

omissions, Plaintiffs were prevented and will continue to be prevented from participating as

activists and peaceful protesters with regard to causes that directly impacttheir lives and the

lives of their friends, families, and communities.

       176.    As a direct and proximate result of Defendants’ actions and omissions, as stated

above, Plaintiffs suffered:

               (a)      Physical pain and suffering in the past and future;

               (b)      Mental anguish in the past and future; and,

               (c)      Loss of Enjoyment of life in the past and future.

                                IX.    STATUTORY DAMAGES

       177.    Plaintiffs reallege and incorporate by reference the allegations contained in the

preceding paragraphs.

       178.    Plaintiffs are entitled to compensatory damages and punitive damages

pursuantto 42 USC § 1988.

       179.    As a direct and proximate result of Defendants’ acts and omissions in the

foregoing respects, Plaintiffs have been required to retain the services of legal counsel and to

incur attorneys’ fees and costs thereby.

       180.    Plaintiffs bring this lawsuit pursuant to 42 U.S.C. § 1983. Plaintiffs are entitled

to an award of reasonable attorneys’ fees. See 42 U.S.C. 1988.

                         X.      PUNITIVE/EXEMPLARY DAMAGES

       181.    Plaintiffs reallege and incorporate by reference the allegations contained in the

preceding paragraphs.

       182.    Additionally, and in the alternative, the conduct of DPD Officer Defendants, the



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Sheriff Deputy Defendants, and the State Trooper Defendants and those working with them was




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done with malice and/or a specific intent by Defendants to cause substantial injury or harm to

Plaintiffs. As such, Plaintiffs request punitive and exemplary damages to deter this type of

conduct in the future.

        183.    In the alternative, the DPD Officer Defendants’, the Sheriff Deputy Defendants’,

and the State Trooper Defendants’ heedless and reckless disregard of Plaintiffs’ rights, safety,

and welfare constitutes more than momentary thoughtlessness, inadvertence, or misjudgment.

Instead, the DPD Officer Defendants, the Sheriff Deputy Defendants, and the State Trooper

Defendants acted with reckless or callous indifference to the federally protected rights, safety,

or welfare of others. Defendants had actual, subjective awareness of the risks of injury or

illegality involved, but nevertheless proceeded with conscious, reckless, or callous indifference

to the rights, safety, or welfare of others, including Plaintiffs. Such unconscionable conduct

goes beyond ordinary negligence, and as such Plaintiffs request punitive and exemplary

damages are awarded against Defendants in a sum which is within thejurisdictional limits of

this court.

                                 XI.   JURY TRIAL DEMANDED

        184.    Plaintiffs assert their rights under the Seventh Amendment to the U.S.

Constitution and demands, in accordance with Federal Rule of Civil Procedure 38, a trial by

jury on all issues so triable.

                                        XII.     PRAYER

        185.    WHEREFORE, Plaintiffs request this Court and the finder of fact to enter a

Judgment in Plaintiffs’ favor against all named Defendants on all counts and claims as indicated

above in an amount consistent with the proofs of trial, and seeks against Defendants all

appropriate damages arising out of law, equity, and fact for each or all of the above counts



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where applicable and hereby requests that the trier of fact, be it judge or jury, award Plaintiffs

all applicable damages, including but not limited to compensatory, special, exemplary and/or

punitive damages, in




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whatever amount Plaintiffs are entitled, and all other relief arising out of law, equity, and fact,

also including but not limited to:

       (a)     Compensatory damages in an amount to be determined as fair and just under the

               circumstances, by the trier of fact including, but not limited to past and future:

               pain and suffering, mental anguish, anxiety, humiliation, and embarrassment,

               violation of Plaintiffs’ constitutional rights, loss of social pleasure and

               enjoyment, and other damages to be proved;

       (b)     Statutory compensatory damages and punitive damages pursuant to 42 USC §
               1988;

       (c)     Statutory attorneys’ fees and costs pursuant to 42 USC § 1988;

       (d)     Punitive and/or exemplary damages in an amount to be determined as

               reasonable or just by the trier of fact;

       (e)     Reasonable attorney fees, pre-judgment and post-judgment interest, and costs;
               and

       (f)     Other declaratory, equitable, and/or permanent injunctive relief, as appears to

               be reasonable and just.

Respectfully submitted,

                                                      //s/ Kim T. Cole
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